Docusign Envelope ID: 397CA288-77AE-42C5-AFBE-231F6D5F13D5
       Case 1:23-cv-00108-LMB-JFA Document 1236-4 Filed 08/24/24 Page 1 of 3 PageID# 90601




                                         IN THE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF VIRGINIA

              UNITED STATES OF AMERICA, et al.,                  §
                                                                 §
                      Plaintiffs,                                §
              v.                                                 §    Civil Action No. 1:23-cv-00108-LMB-JFA
                                                                 §
              GOOGLE LLC,                                        §
                                                                 §
                      Defendant.                                 §




                                      DECLARATION OF NOAM WOLF
                      IN SUPPORT OF DEFENDANT GOOGLE LLC’S REVISED OBJECTIONS TO
                      THE PUBLIC DISCLOSURE OF CONFIDENTIAL INFORMATION AT TRIAL

                     I, Noam Wolf, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

                     1.      I am a Senior Director of Engineering at Google. I have been employed by Google since

            2008 and have held my current position since July 2020. I submit this declaration in support of Google’s

            Revised Objections to the Public Disclosure of Confidential Information at Trial pursuant to the Court’s

            August 9, 2024 Order.

                     2.       Based on my work at Google, I have personal knowledge of the company’s practices and

            procedures for maintaining the confidentiality of its source code and other technical product information.

            The contents of this Declaration are true and correct to the best of my knowledge, information, and belief,

            and are based on Google's policies and practices as they relate to the treatment of confidential

            information, the materials that were provided to me and reviewed by me, and are informed by

            conversations with other knowledgeable employees of Google. If called upon as a witness in this action, I

            could and would testify competently thereto.

                     3.      Google follows a strict practice that requires confidential treatment of its source code,

            product design information, and data. In my experience and to the best of my knowledge, in order to

            protect itself from competitive harm, Google takes significant precautions to ensure that this information


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Docusign Envelope ID: 397CA288-77AE-42C5-AFBE-231F6D5F13D5
       Case 1:23-cv-00108-LMB-JFA Document 1236-4 Filed 08/24/24 Page 2 of 3 PageID# 90602



            is not made public, and does not disclose documents or information of this nature outside of the company,

            with the exception of certain documents that Google shares with partners or fiduciaries, subject to further

            confidentiality requirements.

                     4.      I have reviewed the trial exhibits listed below, and I believe that the sealing (or redaction,

            when specified) of those exhibits is necessary to protect Google’s trade secrets and proprietary

            information.

                     5.      I have reviewed DTX1913, DTX2148, DTX2153, DTX2163, DTX2169, DTX2171,

            DTX2172, DTX2173, DTX2175, DTX2176, DTX2177, DTX2178, DTX2179, DTX2180, DTX2183,

            DTX2185, DTX2186, DTX2189, DTX2190, and DTX2191. These reflect datasets Google produced

            during this litigation concerning revenue, fees, and impressions flowing through Google’s products,

            including with regard to specific advertisers, publishers, or ad tech companies. Disclosing such granular

            data publically would provide Google’s competitors detailed customer data, which could harm Google’s

            customers as well as its competitive position in the marketplace.           For this reason, Google strictly

            maintains the confidentiality of these datasets.

                     6.      I have reviewed DTX0696, DTX0698, DTX0699, DTX0951, and DTX1465, along with

            Google’s proposed redactions. Google’s proposed redactions reflect detailed implementation details for

            current proprietary product optimizations and features as well as design information for Google’s internal

            engineering and financial systems. Disclosure of such implementations would allow competitors to

            recreate Google’s internal product features and could harm Google’s competitive position in the

            marketplace. For this reason, Google strictly maintains the confidentiality of this competitively sensitive

            information.




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Docusign Envelope ID: 397CA288-77AE-42C5-AFBE-231F6D5F13D5
       Case 1:23-cv-00108-LMB-JFA Document 1236-4 Filed 08/24/24 Page 3 of 3 PageID# 90603




            I declare under penalty of perjury that the foregoing is true and correct.
                                               Jerusalem, Israel
            Executed on August 23, 2024 in



                                                               _______________________

                                                               Noam Wolf




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